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Goldwater v. Elizarov et al, CACD 5:21-cv-616 - rule 11 MAC
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Thu 2022-08-18 8:27 AM
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Ms. Maurice, Mr. Bast, and Mr. LeVota:

Last Friday, I invited each of you to meet and confer with me regarding my forthcoming motion for
sanctions under Rule 11. I served the motion on Monday, August 8th, and plan to file the motion on
Friday, September 2nd. To comply with the local rules, we must meet and confer regarding the motion
by next Friday, August 26th.

So far, you have all ignored my invitation to meet and confer. If you cannot find a single date and time
when all four of us can meet and confer, I re-extend my invitation to speak to each of you individually.




                                                                                              Exhibit RR
